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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   ALEXANDER BAYONNE STROSS,                    CV 20-2597 PA (JPRx)

12                Plaintiff,                      JUDGMENT
13         v.
14   WHISKEY TANGO GLOBETROT,
     LLC, et al.,
15
                  Defendants.
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18         Pursuant to the Court’s October 30, 2020 Order dismissing this action for failure to
19   comply with the Court’s Order Setting Scheduling Conference,
20         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21   dismissed without prejudice.
22         IT IS SO ORDERED.
23
24   DATED: October 30, 2020                          _________________________________
                                                                 Percy Anderson
25                                                      UNITED STATES DISTRICT JUDGE
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